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 7                                     UNITED STATES DISTRICT COURT

 8                                EASTERN DISTRICT OF CALIFORNIA

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10    KEVIN ASSEMI,                                     Case No. 1:23-cv-01741-EPG
11                        Plaintiff,                    ORDER DENYING DEFENDANTS’
                                                        MOTION FOR SANCTIONS
12             v.
                                                        (ECF No. 78).
13    FARID ASSEMI, et al.,
14                        Defendants.
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16      I.          INTRODUCTION
17            Certain Defendants removed this case from the Fresno County Superior Court on

18   December 19, 2023. (ECF No. 1). The parties tried to resolve this case through mediation but

19   their efforts were unsuccessful. (ECF No. 73).

20            Now before the Court is Defendant’s Motion for Sanctions for Violating the
     Confidentiality of Mediation. (ECF No. 78). Upon review of the parties’ briefing, the Court will
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     deny the motion for sanctions.
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        II.         PROCEDURAL HISTORY
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              Approximately four months after removal, Plaintiff voluntarily dismissed his claims.
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     (ECF No. 48). Thereafter, the parties attempted to informally resolve some pending issues,
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     including the motion to expunge lis pendens filed by Defendant Maricopa Orchards, LLC
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     (Maricopa). (ECF Nos. 33, 61).
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              The parties attended private mediation. (ECF No. 65). However, despite multiple
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 1   mediation sessions, the parties were unable to resolve the case. (ECF No. 73).

 2              Following a notice of unsuccessful mediation, Defendants Elevated Ag, LLC (Elevated)

 3   and Maricopa moved for sanctions based on purportedly confidential mediation information that

 4   Plaintiff filed on the docket. (ECF No. 78).

 5              This motion has been fully briefed and is ripe for decision.1
         III.      Motion for Sanctions
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                Defendants Elevated and Maricopa request sanctions under the Court’s inherent power
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     based on Plaintiff filing a balance sheet on the docket that was disclosed in mediation. (ECF No.
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     78). Plaintiff opposes the motion, stating that he filed the balance sheet to defend himself in
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     connection with the motion to expunge lis pendens, that he did not believe it was a privileged or
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     confidential document, and that he offered to withdraw the filing and substitute a different
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     financial document, but Defendants would not agree. (ECF No. 80).
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                Disclosure of information exchanged during the confidentiality of a mediation may
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     provide “a basis for sanctions against the violating attorney.” Williams v. Cnty. of San Diego, No.
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     17-CV-00815-MMA-JLB, 2021 WL 3619876, at *5 (S.D. Cal. Aug. 16, 2021). And the Court
15   “has the inherent authority to impose sanctions for bad faith, which includes a broad range of
16   willful improper conduct.” Fink v. Gomez, 239 F.3d 989, 992 (9th Cir. 2001). However, “mere
17   recklessness, without more, does not justify sanctions under a court’s inherent power,” but
18   sanctions may be imposed “for a variety of types of willful actions, including recklessness when
19   combined with an additional factor such as frivolousness, harassment, or an improper purpose.”
20   Id. at 993-94.

21              Here, it is undisputed that the document was provided in connection with the parties’

22   mediation, although Plaintiff’s counsel contends that the relevant attorney did not know this at the

23   time the document was filed because that attorney did not participate in the mediation but only
     began work on this case a couple months ago. (ECF No. 80, pp. 7-8). Despite the document being
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     provided for mediation purposes, the document was also available upon request to Plaintiff under
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       As noted in the minute order entered on March 4, 2024, “All parties have consented to the jurisdiction of
     a United States Magistrate Judge for all further proceedings in this action, including trial and entry of
28   judgment, pursuant to 28 U.S.C. 636(c)(1).” (ECF No. 25).
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 1   California law, which Defendants do not meaningfully dispute.2 (ECF No. 78-1, p. 6). Further, the

 2   balance sheet does not appear to include any trade secret or similar information such that

 3   disclosure itself is prejudicial to Defendants. And the document has not been used substantively

 4   in the case, such as at a motion for summary judgment or trial. Moreover, Plaintiff offered to

 5   remove the document from the docket approximately one and half months ago, but Defendants
     refused and allowed the document to stay on the docket. (ECF No. 77, pp. 2-3).
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                 The Court has evaluated the circumstances and applicable standards and declines to issue
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     sanctions here. While it is true that Plaintiff should not have filed the document on the record, the
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     Court does not find bad faith or any prejudice to Defendants. Further, the Court finds that
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     Defendants’ request for $45,800—their share of the mediation costs—along with attorney fees
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     and costs, especially unwarranted given that they refused to consent to withdrawal of the
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     document from the docket.
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           IV.      CONCLUSION AND ORDER
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                 For the reasons given above, IT IS ORDERED that Defendants’ motion for sanctions is
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     denied. (ECF No. 78).
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16   IT IS SO ORDERED.

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           Dated:      November 4, 2024                              /s/
18                                                           UNITED STATES MAGISTRATE JUDGE

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         Additionally, there is nothing to suggest that the document would not be available through discovery.
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